

People ex rel. Simpson v Brann (2018 NY Slip Op 03822)





People v Brann


2018 NY Slip Op 03822


Decided on May 25, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 25, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
SANDRA L. SGROI
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON, JJ.


2018-06022	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. Kayla Simpson, on behalf of Ronald Francois, petitioner,
vCynthia Brann, Commissioner, Department of Correction, respondent.


Seymour W. James, Jr., New York, NY (Kayla Simpson pro se of counsel), for petitioner.
 	Eric Gonzalez, District Attorney, Brooklyn, NY (Janet Gleeson of counsel), for respondent.
Writ of habeas corpus in the nature of an application for bail reduction upon Kings County Indictment No. 4016/13.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail on Kings County Indictment No. 4016/13 is reduced to the sum of $75,000, which may be posted in the form of an insurance company bail bond in that sum or by depositing the sum of $50,000 as a cash bail alternative, on condition that the defendant surrender any and all passports he may have to the Office of the District Attorney of Kings County and he shall be prohibited from applying for any new or replacement passports; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that the defendant has (1) given an insurance company bail bond in the sum of $75,000 or has deposited the sum of $50,000 as a cash bail alternative, (2) surrendered any and all passports he may have to the Office of the District Attorney of Kings County, and (3) provided the Office of the District Attorney of Kings County with an affidavit attesting that he has not and will not apply for any new or replacement passports, the Warden of the facility at which the defendant is
incarcerated, or his or her agent, is directed to immediately release the defendant.
MASTRO, J.P., SGROI, HINDS-RADIX and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








